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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiffs,                             4:15CR3026
      vs.                                                      AMENDED
                                                                ORDER
JOSE PRECIADO, ALBERTO HINEGES
JR.,
                      Defendants.


      Defendant has moved to continue the pretrial motion deadline, (filing no. 65),
because the defendant has recently received additional discovery from the government
and needs to review that discovery before deciding if pretrial motions should be filed.
The motion to continue is unopposed. Based on the showing set forth in the motion, the
court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant Hinegas’ motion to continue, (filing no. 65), is granted.

      2)     As to both defendants, pretrial motions and briefs shall be filed on or
             before September 17, 2015.

      3)     Based upon the showing set forth in the defendant Hinegas’ motion, and the
             representations of counsel, the Court further finds that the ends of justice
             served by granting the motion to continue outweigh the interests of the
             public and the defendant in a speedy trial, and as to both defendants, the
             additional time arising as a result of the granting of the motion, the time
             between today’s date and September 17, 2015, shall be deemed excludable
             time in any computation of time under the requirements of the Speedy Trial
             Act, because despite counsel’s due diligence, additional time is needed to
             adequately prepare this case for trial and failing to grant additional time
             might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

      July 16, 2015
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
